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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF ARKANSAS


       In re: WHITLEY, JERRY                                            Case No. 4:13-15983-JMP
                                                                        Chapter 7
                                                                    ,
                            Debtor
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         RICHARD L. COX, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $1,512,320.00                      Assets Exempt: $18,225.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$459,210.51         Claims Discharged
                                                     Without Payment: $1,856,177.52

 Total Expenses of Administration:$303,617.77


         3) Total gross receipts of $    762,828.28 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $762,828.28
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                       $3,030,924.63        $362,419.83        $362,419.82       $362,419.82

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         303,617.77        303,617.77         303,617.77

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                 30,000.00          17,736.28          15,188.26         15,188.26
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                     56,624.00       2,010,736.72       1,903,883.95         81,602.43

                                        $3,117,548.63      $2,694,510.60      $2,585,109.80       $762,828.28
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on October 30, 2013.
  The case was pending for 48 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 11/02/2017                 By: /s/RICHARD L. COX
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                            UNIFORM                              $ AMOUNT
              DESCRIPTION
                                                                                           TRAN. CODE 1                          RECEIVED
     Real Property in Saline County                                                        1210-000                                94,500.00

     Potential avoidance action re transfer to wife                                        1241-000                               667,794.00

     Utility Deposit                                                                       1229-000                                    50.00

     return premium due on insurance policy                                                1229-000                                  484.28


    TOTAL GROSS RECEIPTS                                                                                                         $762,828.28

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                            UNIFORM                              $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                           TRAN. CODE                               PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                               $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED                CLAIMS                 CLAIMS           CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form             ASSERTED               ALLOWED            PAID
                                                       CODE                6D)
           6S     Dave & Patsy Stanage                 4210-000            N/A                          0.01              0.00                 0.00
                  Revocable Living Trust
 NOTFILED         Regions Bank                         4110-000             200,000.00            N/A                   N/A                    0.00

 NOTFILED         Capitol Bank C/O                     4110-000           2,246,013.35            N/A                   N/A                    0.00

 NOTFILED         Central Bank C/O                     4110-000              30,000.00            N/A                   N/A                    0.00

 NOTFILED         On-Line Construction, Inc.           4110-000             210,000.00            N/A                   N/A                    0.00

 NOTFILED         Farm Credit Services Western 4110-000                             0.00          N/A                   N/A                    0.00
                  AR
 NOTFILED         H. Keith Morrison            4110-000                             0.00          N/A                   N/A                    0.00

 NOTFILED         First Service Bank                   4110-000             130,150.00            N/A                   N/A                    0.00

 NOTFILED         CitiBank                             4110-000             214,761.28            N/A                   N/A                    0.00




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           Lenders Title Company           4110-000         N/A             291,298.75     291,298.75    291,298.75

           The Capital Bank                4120-000         N/A              42,672.64      42,672.64     42,672.64

           First Service Bank              4120-000         N/A              28,448.43      28,448.43     28,448.43


 TOTAL SECURED CLAIMS                                     $3,030,924.63    $362,419.83    $362,419.82   $362,419.82



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                              CLAIMS              CLAIMS         CLAIMS        CLAIMS
                                          TRAN.
                                                      SCHEDULED           ASSERTED       ALLOWED         PAID
                                          CODE
 Trustee Compensation - RICHARD L. COX         2100-000           N/A        41,391.41      41,391.41     41,391.41

 Trustee Expenses - RICHARD L. COX             2200-000           N/A            82.12          82.12         82.12

 Attorney for Trustee Expenses (Trustee        3120-000           N/A            98.45          98.45         98.45
 Firm) - RICHARD L. COX, P.A.
 Attorney for Trustee Expenses (Trustee        3120-000           N/A            95.08          95.08         95.08
 Firm) - RICHARD L. COX, P.A.
 Attorney for Trustee Expenses (Trustee        3120-000           N/A           136.38         136.38       136.38
 Firm) - RICHARD L. COX, P.A.
 Attorney for Trustee Expenses (Trustee        3120-000           N/A           748.81         748.81       748.81
 Firm) - RICHARD L. COX, P.A.
 Attorney for Trustee Fees (Trustee Firm)   - 3110-000            N/A         2,056.50       2,056.50      2,056.50
 RICHARD L. COX, P.A.
 Attorney for Trustee Fees (Trustee Firm)   - 3110-000            N/A         7,478.25       7,478.25      7,478.25
 RICHARD L. COX, P.A.
 Attorney for Trustee Fees (Trustee Firm)   - 3110-000            N/A         5,104.25       5,104.25      5,104.25
 RICHARD L. COX, P.A.
 Attorney for Trustee Fees (Trustee Firm)   - 3110-000            N/A        23,881.00      23,881.00     23,881.00
 RICHARD L. COX, P.A.
 Attorney for Trustee Fees (Trustee Firm)   - 3110-000            N/A         2,400.00       2,400.00      2,400.00
 RICHARD L. COX, P.A.
 Other - MCKENZIE, GARDIAL & ARNOLD            3420-000           N/A           115.00         115.00       115.00

 Other - MCKENZIE, GARDIAL & ARNOLD            3420-000           N/A           115.00         115.00       115.00

 Other - MCKENZIE, GARDIAL & ARNOLD            3420-000           N/A           125.00         125.00       125.00

 Other - MCKENZIE, GARDIAL & ARNOLD            3410-000           N/A           250.00         250.00       250.00

 Other - MCKENZIE, GARDIAL & ARNOLD            3410-000           N/A           350.00         350.00       350.00

 Other - MCKENZIE, GARDIAL & ARNOLD            3410-000           N/A           200.00         200.00       200.00

 Other - Streetman, Meeks & Gibson, PLLC       3220-610           N/A        12,282.88      12,282.88     12,282.88

 Other - Streetman, Meeks & Gibson, PLLC       3220-610           N/A         1,343.68       1,343.68      1,343.68

 Other - Streetman, Meeks & Gibson, PLLC       3210-600           N/A       133,440.00     133,440.00    133,440.00

 Other - Streetman, Meeks & Gibson, PLLC       3210-600           N/A        33,705.00      33,705.00     33,705.00

 Other - Rabobank, N.A.                        2600-000           N/A           111.20         111.20       111.20

 Other - Rabobank, N.A.                        2600-000           N/A           132.66         132.66       132.66

 Other - Rabobank, N.A.                        2600-000           N/A           128.06         128.06       128.06

 Other - Rabobank, N.A.                        2600-000           N/A           141.11         141.11       141.11




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 Other - Rabobank, N.A.                      2600-000   N/A     136.49      136.49      136.49

 Other - Rabobank, N.A.                      2600-000   N/A     127.49      127.49      127.49

 Other - Rabobank, N.A.                      2600-000   N/A     140.50      140.50      140.50

 Other - Rabobank, N.A.                      2600-000   N/A     131.50      131.50      131.50

 Other - Rabobank, N.A.                      2600-000   N/A     126.94      126.94      126.94

 Other - Rabobank, N.A.                      2600-000   N/A     144.26      144.26      144.26

 Other - Rabobank, N.A.                      2600-000   N/A     126.23      126.23      126.23

 Other - Rabobank, N.A.                      2600-000   N/A     125.90      125.90      125.90

 Other - Rabobank, N.A.                      2600-000   N/A     142.65      142.65      142.65

 Other - Rabobank, N.A.                      2600-000   N/A     125.15      125.15      125.15

 Other - Rabobank, N.A.                      2600-000   N/A     124.97      124.97      124.97

 Other - Rabobank, N.A.                      2600-000   N/A     142.03      142.03      142.03

 Other - Saline County Abstract & Guaranty   2500-000   N/A      75.00       75.00       75.00
 Co., Inc.
 Other - Rabobank, N.A.                      2600-000   N/A     124.60      124.60      124.60

 Other - Rabobank, N.A.                      2600-000   N/A     141.48      141.48      141.48

 Other - Rabobank, N.A.                      2600-000   N/A     128.41      128.41      128.41

 Other - Rabobank, N.A.                      2600-000   N/A     123.95      123.95      123.95

 Other - Rabobank, N.A.                      2600-000   N/A     136.60      136.60      136.60

 Other - Rabobank, N.A.                      2600-000   N/A     127.54      127.54      127.54

 Other - Rabobank, N.A.                      2600-000   N/A     128.75      128.75      128.75

 Other - Rabobank, N.A.                      2600-000   N/A     232.92      232.92      232.92

 Other - Entergy                             2420-000   N/A      27.86       27.86       27.86

 Other - Rabobank, N.A.                      2600-000   N/A     295.03      295.03      295.03

 Other - Lenders Title Company               2820-000   N/A     948.56      948.56      948.56

 Other - Lenders Title Company               2500-000   N/A     735.00      735.00      735.00

 Other - Lenders Title Company               2500-000   N/A     350.00      350.00      350.00

 Other - Lenders Title Company               3510-000   N/A   25,500.00   25,500.00   25,500.00

 Other - Lenders Title Company               2820-000   N/A     907.50      907.50      907.50

 Other - Lenders Title Company               2500-000   N/A     564.00      564.00      564.00

 Other - Lenders Title Company               2500-000   N/A     214.75      214.75      214.75

 Other - Lenders Title Company               2500-000   N/A      20.00       20.00       20.00

 Other - Lenders Title Company               2820-000   N/A    3,979.60    3,979.60    3,979.60

 Other - Lenders Title Company               2500-000   N/A       -6.34       -6.34       -6.34

 Other - Entergy                             2420-000   N/A      34.21       34.21       34.21




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 Other - RICHARD L. COX                    2300-000             N/A                16.38          16.38         16.38

 Other - Rabobank, N.A.                    2600-000             N/A               458.37         458.37       458.37

 Other - Rabobank, N.A.                    2600-000             N/A               336.05         336.05       336.05

 Other - Rabobank, N.A.                    2600-000             N/A               157.42         157.42       157.42

 Other - Rabobank, N.A.                    2600-000             N/A               150.14         150.14       150.14

 Other - RICHARD L. COX, P.A.              2300-000             N/A                33.60          33.60         33.60

 Other - Rabobank, N.A.                    2600-000             N/A               170.44         170.44       170.44

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A               $303,617.77     $303,617.77   $303,617.77
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM
    PAYEE                                             CLAIMS             CLAIMS             CLAIMS        CLAIMS
                                       TRAN.
                                                     SCHEDULED          ASSERTED           ALLOWED         PAID
                                       CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                      $0.00          $0.00         $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                      UNIFORM         CLAIMS             CLAIMS
   CLAIM                                             SCHEDULED          ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT             TRAN.          (from Form       (from Proofs of     ALLOWED         PAID
                                       CODE               6E)               Claim)
      1    Garland County Tax Collector 5800-000           14,000.00          14,411.77       14,411.77     14,411.77

      5    Saline County Tax Collector 5800-000            16,000.00            1,771.53           0.00          0.00

      5 -2 Saline County Tax Collector 5800-000           N/A                     776.49           0.00          0.00

      5 -3 Saline County Tax Collector 5800-000           N/A                     776.49         776.49       776.49

 TOTAL PRIORITY UNSECURED                                 $30,000.00         $17,736.28      $15,188.26    $15,188.26
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                      UNIFORM         CLAIMS             CLAIMS
   CLAIM                                             SCHEDULED          ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT             TRAN.          (from Form       (from Proofs of     ALLOWED         PAID
                                       CODE               6F)               Claim)
      2    Atlas Acquisitions LLC      7100-000           N/A                   1,260.81       1,260.81       445.36

      3    Atlas Acquisitions LLC      7100-000           N/A                   2,339.97       2,339.97       826.55

      4    PYOD, LLC its successors and 7100-000           22,728.00          26,756.35       26,756.35      9,451.23
           assigns as assignee
      6U   Dave and Patsy Stanage       7100-000          N/A                200,658.66      200,658.66     70,879.29
           Revocable Trust


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      7     First Service Bank           7200-000   N/A              106,852.77             0.00         0.00

      7 -2 First Service Bank            7200-000   N/A                78,404.34       78,404.34         0.00

      8     First Service Bank           7200-000   N/A              142,062.33      142,062.33          0.00

      9     The Capital Bank             7200-000   N/A             1,452,401.49    1,452,401.49         0.00

 NOTFILED   First Collection Service     7100-000          53.00      N/A                 N/A            0.00

 NOTFILED   Heartland Bank               7100-000   unknown           N/A                 N/A            0.00

 NOTFILED   First Collection Service     7100-000     1,157.00        N/A                 N/A            0.00

 NOTFILED   Mid-South Adjustment Co.     7100-000         344.00      N/A                 N/A            0.00

 NOTFILED   Credit Control               7100-000          71.00      N/A                 N/A            0.00

 NOTFILED   Mid-South Adjustment Co.     7100-000         329.00      N/A                 N/A            0.00

 NOTFILED   Mac Norton                   7100-000   unknown           N/A                 N/A            0.00

 NOTFILED   Receivables Mgmt.            7100-000         176.00      N/A                 N/A            0.00

 NOTFILED   Summit Bank                  7100-000     1,015.00        N/A                 N/A            0.00

 NOTFILED   Mid-South Adjustment Co.     7100-000          56.00      N/A                 N/A            0.00

 NOTFILED   Southern Collection System   7100-000          83.00      N/A                 N/A            0.00

 NOTFILED   Credit Control               7100-000          94.00      N/A                 N/A            0.00

 NOTFILED   CBS Col. PADU Bankruptcy     7100-000         144.00      N/A                 N/A            0.00

 NOTFILED   Central Bank C/O             7100-000    30,000.00        N/A                 N/A            0.00

 NOTFILED   12 Long Term Short Term,     7100-000   unknown           N/A                 N/A            0.00
            Inc. DBA Omega Rooms
 NOTFILED   Access Credit                7100-000         323.00      N/A                 N/A            0.00

 NOTFILED   CBS Col. PADU Bankruptcy     7100-000          51.00      N/A                 N/A            0.00

 TOTAL GENERAL UNSECURED                            $56,624.00     $2,010,736.72   $1,903,883.95   $81,602.43
 CLAIMS




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                                                                                                                                                           Exhibit 8


                                                                         Form 1                                                                            Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 4:13-15983-JMP                                                      Trustee:        (250060)     RICHARD L. COX
Case Name:          WHITLEY, JERRY                                               Filed (f) or Converted (c): 10/30/13 (f)
                                                                                 §341(a) Meeting Date:        12/03/13
Period Ending: 11/02/17                                                          Claims Bar Date:             09/15/14

                                1                                2                          3                      4               5                   6

                    Asset Description                         Petition/            Estimated Net Value         Property        Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)           Unscheduled       (Value Determined By Trustee,   Abandoned        Received by     Administered (FA)/
                                                               Values            Less Liens, Exemptions,      OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                               and Other Costs)                                          Remaining Assets

 1       7806 Narrows Road and 16                              500,000.00                           0.00                                0.00                   FA
          Ordered abandoned 12/4/13

 2       Cash                                                         20.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

 3       Arvest-social security for son                              700.00                      700.00                                 0.00                   FA
          Imported from Amended Doc#: 17

 4       Couch, love seat coffee, dining table and six ch        5,000.00                           0.00                                0.00                   FA
          Imported from Amended Doc#: 17

 5       Clothing                                                    500.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

 6       .22 magnum                                                  500.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

 7       Midland National $2,000,000 term policy (church               0.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

 8       J.P.W. Enterprises, LLC, only member.                         0.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

 9       Whitley Travis Enterprises, LLC (50% member)                  0.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

10       Flamekist, LLC (member interest-100%)                         0.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

11       Jerry and Dena Whitley living trust                           0.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

12       1998 Honda four wheeler.                                    500.00                         0.00                                0.00                   FA
          Imported from Amended Doc#: 17

13       2007 Sea-Doo and 2008 trailer                           2,500.00                       2,500.00                                0.00                   FA
          Imported from Amended Doc#: 17

14       Potential insurance commissions- 25% of premium         Unknown                            0.00                                0.00                   FA
          Imported from Amended Doc#: 17

15       Commissions up to date of petition.                     Unknown                            0.00                                0.00                   FA
          Imported from Amended Doc#: 17

16       130 bales of hay                                        2,600.00                           0.00                                0.00                   FA
          Imported from Amended Doc#: 17


                                                                                                                            Printed: 11/02/2017 11:24 AM    V.13.31
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                                                                                                                                                                           Exhibit 8


                                                                                  Form 1                                                                                   Page: 2

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 4:13-15983-JMP                                                               Trustee:        (250060)     RICHARD L. COX
Case Name:         WHITLEY, JERRY                                                         Filed (f) or Converted (c): 10/30/13 (f)
                                                                                          §341(a) Meeting Date:        12/03/13
Period Ending: 11/02/17                                                                   Claims Bar Date:             09/15/14

                                 1                                       2                            3                      4                    5                    6

                     Asset Description                                Petition/             Estimated Net Value         Property             Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,   Abandoned             Received by       Administered (FA)/
                                                                       Values             Less Liens, Exemptions,      OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                                        and Other Costs)                                                 Remaining Assets

17        Potential avoidance action re transfer to father (u)           Unknown                            0.00                                        0.00                    FA

18        Real Property in Saline County (u)                             94,500.00                     94,500.00                                  94,500.00                     FA

19        Potential avoidance action re transfer to wife (u)             Unknown                      667,794.00                                 667,794.00                     FA

20        AVIVA $1,000,000 term policy (u)                            1,000,000.00                          1.00                                        0.00                    FA

21        Utility Deposit (u)                                                  50.00                       50.00                                       50.00                    FA

22        return premium due on insurance policy (u)                         484.28                       484.28                                      484.28                    FA

 22      Assets       Totals (Excluding unknown values)              $1,607,354.28                   $766,029.28                               $762,828.28                    $0.00



      Major Activities Affecting Case Closing:

      Initial Projected Date Of Final Report (TFR):        December 15, 2015                Current Projected Date Of Final Report (TFR):       September 12, 2017 (Actual)




                                                                                                                                            Printed: 11/02/2017 11:24 AM    V.13.31
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                                                                                                                                                                                      Exhibit 9


                                                                                     Form 2                                                                                           Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:        4:13-15983-JMP                                                                        Trustee:            RICHARD L. COX (250060)
Case Name:          WHITLEY, JERRY                                                                        Bank Name:          Rabobank, N.A.
                                                                                                          Account:            ******9466 - Checking Account
Taxpayer ID #: **-***5549                                                                                 Blanket Bond:       $50,859,389.00 (per case limit)
Period Ending: 11/02/17                                                                                   Separate Bond: N/A

   1            2                          3                                          4                                                   5                     6                 7

 Trans.     {Ref #} /                                                                                                                 Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                      T-Code              $                  $       Account Balance
03/02/15      {18}       Auditor of the State of Arkansas    sale of real property at private sale                   1210-000            94,500.00                                94,500.00
03/10/15      101        RICHARD L. COX, P.A.                per order entered 3/10/15 doc. #65                      3110-000                                   2,056.50          92,443.50
03/10/15      102        RICHARD L. COX, P.A.                per order entered 3/10/15 doc. #65                      3120-000                                        95.08        92,348.42
03/31/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       111.20        92,237.22
04/30/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       132.66        92,104.56
05/29/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       128.06        91,976.50
06/30/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       141.11        91,835.39
07/31/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       136.49        91,698.90
08/31/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       127.49        91,571.41
09/30/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       140.50        91,430.91
10/30/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       131.50        91,299.41
11/30/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       126.94        91,172.47
12/31/15                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       144.26        91,028.21
01/29/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       126.23        90,901.98
02/05/16      103        MCKENZIE, GARDIAL & ARNOLD          per order entered 5/5/16 DE #88                         3410-000                                       250.00        90,651.98
02/05/16      104        MCKENZIE, GARDIAL & ARNOLD          per order entered 5/5/16 DE #88                         3420-000                                       125.00        90,526.98
03/01/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       125.90        90,401.08
03/31/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       142.65        90,258.43
04/29/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       125.15        90,133.28
05/31/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       124.97        90,008.31
06/30/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       142.03        89,866.28
07/14/16      105        Saline County Abstract & Guaranty   Judgment Search                                         2500-000                                        75.00        89,791.28
                         Co., Inc.
07/29/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       124.60        89,666.68
08/31/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       141.48        89,525.20
09/30/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       128.41        89,396.79
10/31/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       123.95        89,272.84
11/30/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       136.60        89,136.24
12/01/16      106        MCKENZIE, GARDIAL & ARNOLD          per order entered 12/1/16 DE #114                       3410-000                                       200.00        88,936.24
12/01/16      107        MCKENZIE, GARDIAL & ARNOLD          per order entered 12/1/16 DE #114                       3420-000                                       115.00        88,821.24
12/30/16                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       127.54        88,693.70
01/09/17      108        RICHARD L. COX, P.A.                per order entered 1/9/17 DE #128                        3110-000                                   7,478.25          81,215.45
01/09/17      109        RICHARD L. COX, P.A.                per order entered 1/9/17 DE #128                        3120-000                                       136.38        81,079.07
01/31/17                 Rabobank, N.A.                      Bank and Technology Services Fee                        2600-000                                       128.75        80,950.32
03/15/17      110        Entergy                             Electric Bill for 8 Quieto Trace per order              2420-000                                        27.86        80,922.46
                                                             entered 1/30/17 DE #137
04/03/17                 Lenders Title Company               Sale of Real Property                                                      225,488.18                            306,410.64

                                                                                                          Subtotals :                  $319,988.18            $13,577.54
{} Asset reference(s)                                                                                                                              Printed: 11/02/2017 11:24 AM        V.13.31
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                                                    Cash Receipts And Disbursements Record
Case Number:        4:13-15983-JMP                                                                    Trustee:            RICHARD L. COX (250060)
Case Name:          WHITLEY, JERRY                                                                    Bank Name:          Rabobank, N.A.
                                                                                                      Account:            ******9466 - Checking Account
Taxpayer ID #: **-***5549                                                                             Blanket Bond:       $50,859,389.00 (per case limit)
Period Ending: 11/02/17                                                                               Separate Bond: N/A

   1            2                           3                                       4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                    T-Code              $                   $       Account Balance
              {19}                                          Liquidation of Real             550,000.00           1241-000                                                 306,410.64
                                                            Propert
                                                            Caounty Property Taxes              -948.56          2820-000                                                 306,410.64
                                                            fromm 1/1/17 thru
                                                            3/28/17
                                                            Title - Owner's Title               -735.00          2500-000                                                 306,410.64
                                                            Insurance -49.68 to
                                                            Lenders Title Comapany
                                                            Title Closing Fee to                -350.00          2500-000                                                 306,410.64
                                                            Lenders Title
                                                            Real Estate Commission           -25,500.00          3510-000                                                 306,410.64
                                                            to Trademark Real
                                                            Estate
                                                            Transfer Tax to DF & A              -907.50          2820-000                                                 306,410.64
                                                            Payoff First Mortgage           -291,298.75          4110-000                                                 306,410.64
                                                            Loan
                                                            Home Warranty to HMS                -564.00          2500-000                                                 306,410.64
                                                            Home Warranty
                                                            Termite to Terminix                 -214.75          2500-000                                                 306,410.64
                                                            Record Release Fee to                 -20.00         2500-000                                                 306,410.64
                                                            Garland County Circuit
                                                            Clerk
                                                            Property Taxes to                 -3,979.60          2820-000                                                 306,410.64
                                                            Garland COunty Tax
                                                            Collector
                                                            Credit HSV POA Dues                       6.34       2500-000                                                 306,410.64
                                                            from 3/29/17 thru
                                                            3/31/17
04/04/17      111        Entergy                         Electric Bill for 8 Quieto Trace per order              2420-000                                       34.21     306,376.43
                                                         entered 1/30/17 DE #137
04/10/17                 To Account #******9467          transfer to correct account                             9999-000                                 225,426.11          80,950.32
04/25/17      112        RICHARD L. COX                  Bond Premium Reimbursement                              2300-000                                       16.38         80,933.94
05/11/17                 From Account #******9467        took bond premium payment out of the wrong              9999-000                  16.38                              80,950.32
                                                         account
05/11/17      113        RICHARD L. COX                  per order entered 5/10/17 DE #167                       2100-000                                    4,725.00         76,225.32
05/11/17      114        RICHARD L. COX, P.A.            per order entered 5/10/17 DE #166                       3110-000                                    5,104.25         71,121.07
05/11/17      115        The Capital Bank                per DE #28 in AP 4:16-ap-01156                          4120-000                                   42,672.64         28,448.43
05/11/17      116        First Service Bank              Per DE #28 in AP 4:16-ap-01156                          4120-000                                   28,448.43                0.00


                                                                                                      Subtotals :                         $16.38      $306,427.02
{} Asset reference(s)                                                                                                                          Printed: 11/02/2017 11:24 AM        V.13.31
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                                               Cash Receipts And Disbursements Record
Case Number:        4:13-15983-JMP                                                  Trustee:            RICHARD L. COX (250060)
Case Name:          WHITLEY, JERRY                                                  Bank Name:          Rabobank, N.A.
                                                                                    Account:            ******9466 - Checking Account
Taxpayer ID #: **-***5549                                                           Blanket Bond:       $50,859,389.00 (per case limit)
Period Ending: 11/02/17                                                             Separate Bond: N/A

   1            2                       3                            4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                           Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From     Description of Transaction              T-Code              $                   $       Account Balance

                                                                   ACCOUNT TOTALS                                 320,004.56            320,004.56                $0.00
                                                                          Less: Bank Transfers                           16.38          225,426.11
                                                                   Subtotal                                       319,988.18              94,578.45
                                                                          Less: Payments to Debtors                                            0.00
                                                                   NET Receipts / Disbursements                  $319,988.18            $94,578.45




{} Asset reference(s)                                                                                                        Printed: 11/02/2017 11:24 AM        V.13.31
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                                                    Cash Receipts And Disbursements Record
Case Number:        4:13-15983-JMP                                                                  Trustee:            RICHARD L. COX (250060)
Case Name:          WHITLEY, JERRY                                                                  Bank Name:          Rabobank, N.A.
                                                                                                    Account:            ******9467 - Checking Account
Taxpayer ID #: **-***5549                                                                           Blanket Bond:       $50,859,389.00 (per case limit)
Period Ending: 11/02/17                                                                             Separate Bond: N/A

   1            2                         3                                         4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
02/02/17      {19}       Lenders Title Company             Recovery of Prefferential Transfer settlement       1241-000           117,789.00                            117,789.00
                                                           for AP
02/06/17      {19}       Lenders Title                     Recovery of preferential transfer settlement for    1241-000                   5.00                          117,794.00
                                                           AP
02/28/17                 Rabobank, N.A.                    Bank and Technology Services Fee                    2600-000                                       232.92    117,561.08
03/31/17                 Rabobank, N.A.                    Bank and Technology Services Fee                    2600-000                                       295.03    117,266.05
04/10/17                 From Account #******9466          transfer to correct account                         9999-000           225,426.11                            342,692.16
04/10/17      1001       Streetman, Meeks & Gibson, PLLC   per order entered 7/142/16 DE #101                  3210-600                                 133,440.00      209,252.16
04/10/17      1002       Streetman, Meeks & Gibson, PLLC   per order entered 7/142/16 DE #101                  3220-610                                   12,282.88     196,969.28
04/10/17      1003       Streetman, Meeks & Gibson, PLLC   per order entered 3/17/17 DE #158                   3210-600                                   33,705.00     163,264.28
04/10/17      1004       Streetman, Meeks & Gibson, PLLC   per order entered 3/17/17 DE #158                   3220-610                                    1,343.68     161,920.60
04/17/17      {21}       Hot Springs Village POA           utility deposit refund                              1229-000                  50.00                          161,970.60
04/26/17      {22}       Berkshire Hathaway Homestate      return premium due on policy                        1229-000                 484.28                          162,454.88
                         Insurance Company
04/28/17                 Rabobank, N.A.                    Bank and Technology Services Fee                    2600-000                                       458.37    161,996.51
05/11/17                 To Account #******9466            took bond premium payment out of the wrong          9999-000                                        16.38    161,980.13
                                                           account
05/11/17      1005       RICHARD L. COX, P.A.              per order entered 5/10/17 DE #166                   3110-000                                   23,881.00     138,099.13
05/11/17      1006       RICHARD L. COX, P.A.              per order entered 5/10/17 DE # 166                  3120-000                                       748.81    137,350.32
05/11/17      1007       RICHARD L. COX                    per order entered 5/10/17 DE #167                   2100-000                                   28,514.48     108,835.84
05/31/17                 Rabobank, N.A.                    Bank and Technology Services Fee                    2600-000                                       336.05    108,499.79
06/30/17                 Rabobank, N.A.                    Bank and Technology Services Fee                    2600-000                                       157.42    108,342.37
07/03/17      1008       MCKENZIE, GARDIAL & ARNOLD        Per order entered 06/29/17 doc#172                  3420-000                                       115.00    108,227.37
07/03/17      1009       MCKENZIE, GARDIAL & ARNOLD        Per order entered 06/29/17 doc#172                  3410-000                                       350.00    107,877.37
07/31/17                 Rabobank, N.A.                    Bank and Technology Services Fee                    2600-000                                       150.14    107,727.23
08/14/17      1010       RICHARD L. COX, P.A.              Bond Premium Reinbursement                          2300-000                                        33.60    107,693.63
08/24/17      1011       RICHARD L. COX, P.A.              per order entered 8/23/17 & doc#176                 3110-000                                    2,400.00     105,293.63
08/24/17      1012       RICHARD L. COX, P.A.              per order entered 8/23/17 & doc#176                 3120-000                                        98.45    105,195.18
08/31/17                 Rabobank, N.A.                    Bank and Technology Services Fee                    2600-000                                       170.44    105,024.74
10/12/17      1013       RICHARD L. COX                    Dividend paid 100.00% on $41,391.41,                2100-000                                    8,151.93         96,872.81
                                                           Trustee Compensation; Reference:
10/12/17      1014       RICHARD L. COX                    Dividend paid 100.00% on $82.12, Trustee            2200-000                                        82.12        96,790.69
                                                           Expenses; Reference:
10/12/17      1015       Garland County Tax Collector      Dividend paid 100.00% on $14,411.77; Claim#         5800-000                                   14,411.77         82,378.92
                                                           1; Filed: $14,411.77; Reference:
10/12/17      1016       Saline County Tax Collector       Dividend paid 100.00% on $776.49; Claim# 5          5800-000                                       776.49        81,602.43
                                                           -3; Filed: $776.49; Reference:


                                                                                                     Subtotals :                 $343,754.39        $262,151.96
{} Asset reference(s)                                                                                                                        Printed: 11/02/2017 11:24 AM        V.13.31
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                                                   Cash Receipts And Disbursements Record
Case Number:        4:13-15983-JMP                                                                   Trustee:            RICHARD L. COX (250060)
Case Name:          WHITLEY, JERRY                                                                   Bank Name:          Rabobank, N.A.
                                                                                                     Account:            ******9467 - Checking Account
Taxpayer ID #: **-***5549                                                                            Blanket Bond:       $50,859,389.00 (per case limit)
Period Ending: 11/02/17                                                                              Separate Bond: N/A

   1            2                         3                                        4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                  T-Code              $                  $       Account Balance
10/12/17      1017       Atlas Acquisitions LLC             Dividend paid 35.32% on $1,260.81; Claim# 2; 7100-000                                              445.36        81,157.07
                                                            Filed: $1,260.81; Reference:
10/12/17      1018       Atlas Acquisitions LLC             Dividend paid 35.32% on $2,339.97; Claim# 3; 7100-000                                              826.55        80,330.52
                                                            Filed: $2,339.97; Reference:
10/12/17      1019       PYOD, LLC its successors and       Dividend paid 35.32% on $26,756.35; Claim#          7100-000                                    9,451.23         70,879.29
                         assigns as assignee                4; Filed: $26,756.35; Reference:
10/12/17      1020       Dave and Patsy Stanage Revocable   Dividend paid 35.32% on $200,658.66;                7100-000                                   70,879.29                0.00
                         Trust                              Claim# 6U; Filed: $200,658.66; Reference:

                                                                                 ACCOUNT TOTALS                                    343,754.39            343,754.39                $0.00
                                                                                           Less: Bank Transfers                    225,426.11                   16.38
                                                                                 Subtotal                                          118,328.28            343,738.01
                                                                                           Less: Payments to Debtors                                             0.00
                                                                                 NET Receipts / Disbursements                     $118,328.28        $343,738.01

                               Net Receipts :        438,316.46
                     Plus Gross Adjustments :        324,511.82                                                                        Net             Net                   Account
                                                  ————————                       TOTAL - ALL ACCOUNTS                                Receipts     Disbursements              Balances
                                 Net Estate :       $762,828.28
                                                                                 Checking # ******9466                             319,988.18              94,578.45                0.00
                                                                                 Checking # ******9467                             118,328.28            343,738.01                 0.00

                                                                                                                                  $438,316.46        $438,316.46                   $0.00




{} Asset reference(s)                                                                                                                         Printed: 11/02/2017 11:24 AM        V.13.31
